






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-12-00117-CR






Saul Salinas, Appellant


v.


The State of Texas, Appellee






FROM THE DISTRICT COURT OF BURNET COUNTY, 424TH JUDICIAL DISTRICT

NO. 5141, HONORABLE BILLY RAY STUBBLEFIELD, JUDGE PRESIDING





M E M O R A N D U M   O P I N I O N


	Appellant filed his notice of appeal in the trial court in August 2011, the clerk's record
was filed in this Court on February 9, 2012, and a partial reporter's record was filed on July 11.
Appellant has filed a motion asking that we abate the case to the trial court because the clerk's record
lacks many of the documents requested for inclusion by appellant and because the full reporter's record
has not been filed.  Jennifer Hoffman, official court reporter for the trial court, has filed fourteen volumes
of record and one exhibit volume.  According to appellant's request for the reporter's record, several
volumes remain outstanding.  Hoffman has informed this Court that those volumes were taken by two
other court reporters, one of whom has died and the other of whom retired, has been "uncooperative"
with past requests, and has not responded to Hoffman's communications.

	We therefore grant appellant's motion and abate the appeal to the trial court to oversee
the completion of the clerk's record as requested by appellant and the missing volumes of reporter's
record, if possible.  If it is not possible to obtain the missing portions of the reporter's record, the trial
court is instructed to determine how to proceed in this matter.  See, e.g., Tex. R. App. P. 34.6(f).


					___________________________________________

					David Puryear, Justice

Before Justices Puryear, Pemberton and Henson

Abated

Filed:   July 17, 2012

Do Not Publish


